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Sector Mobile, AL Deep Draft
Vessel Evaluation and Cleaning
Plan

09 May 2010

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PURPOSE

This plan serves to identify general guidance procedures to be followed by response vessels and those
vessels transiting into port that may be impacted by oil within Sector Mobile, AL. Vessel operations may
involve transiting through slicks, therefore their hulls and other vessel areas may be impacted with oil.
This plan will be used for all vessels, either contaminated or suspected of being contaminated with oil, to
confirm they are non-oiled or return them to a non oiled state.

CONCEPT OVERVIEW

in view of the potential for a number of vessels to be affected by oil from this incident, the Incident
Command has approved a procedure for the pollution evaluation of response, transit and recreational
vessels and a method for decontamination. The Unified Command will oversee and establish temporary
berthing of oiled response and transit vessels; and oversee gross and final decontamination of impacted
vessels.

The primary focus of this operation will be to expedite the clean-up of contaminated transit and response
vessels in a safe, organized, and efficient manner which will minimize environmental impact damage and
waste generation. Team leaders on scene conducting decontamination operations will be responsible for
coordination of operations with the Incident Command Post.

The Maritime Transportation System Recovery Unit (MTSRU) must coordinate with the County and/or
Port Representative to ensure that operations are performed at a location that provides for the safety of
the public in the surrounding area, such as water intake locations. All vessels that undergo self-cleaning
operations must be available for a post-cleaning inspection performed by a USCG Verifying Officer prior to
the vessels being released.

Prior to entering port, all Contaminated Response Vessels will undergo necessary decontamination
procedures. Deep Draft Commercial Vessels exhibiting a “bathtub ring” during transit into port will Self-
Evaluate the vessel using the guidance document published by the MTSRU (Deep Water Horizon Vessel
Protocol) Sector Mobile Captain of the Port zone. Following the self inspection, the vessel master or
agent will determine if the standard has exceeded designated “clean” standards established by the
Unified Command. If so, the vessel will be Gross Decontaminated utilizing high volume water andinjected
dispersant{Corexit-9580} from offshore vessel platform with fire monitor system. Vessels are required to
undergo decontamination if sheen emanates from the hull. If during decontamination it is found that this
cleaning method does not satisfy “clean” standards established by the Unified Command, the Coast Guard
Verifying Officer shall notify the Incident Command Post and request the authority to use surface washing
agents from the Regional Response Team.

Any vessels wishing to perform independent vessel decontamination of “bathtub rings” may be
authorized to do so in accordance with the Deepwater Horizon Vessel Assessment Protocol (developed by
the Sector Mobile MTSRU). Furthermore, any vessel or barge wishing to self-clean will coordinate with the

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MTSRU at the Incident Command Post prior to any cleaning operations in order to ensure that all efforts
comply with this plan, and that the State and/or Port Representative are aware of the operations.

SAFETY

All required Personal Protective Equipment (PPE) shall be properly utilized at all times during
decontamination operations. In addition to the normal safe work practices used on scene, when using
high pressure washing systems, full face shields and eye protection shall be utilized and a maintenance
record shall be provided for the equipment.

On-water decontamination operations shall begin no earlier than one half hour after sunrise, and shall
cease no later than one half hour before sunset. In the event the team leader wishes to operate outside
these parameters they must obtain permission from the designated person at the Unified Command

Post. Inshore secondary cleaning vessels can be conducted in some locations if deemed necessary ona 24
hour basis with proper lighting and safety procedures in place.

HEALTH AND SAFETY MANAGEMENT SYSTEM

Incident contractors will have a health and safety management system which, at a minimum, will include
a safe practices program with performance targets (or utilize Company's program). Incident contractors
will communicate the expectation that everyone has an obligation to stop work that is unsafe.

In addition, incident contractors will have hazard identification and risk assessment process for
completing a daily pre-job task hazard analysis and/or work permitting system to identify and control the
hazards to an acceptable level. At a minimum, a process for completing daily Job Safety Analysis

(JSA), or Job Safety Environmental Analysis (JSEA), is required to facilitate the daily task hazard analysis.

VESSEL SAFETY CONCERNS

In the event the vessels being decontaminated are not able to anchor and/or Stern Machinery is
unsecured, the decontamination team leader shall use their discretion concerning the distance from the
stern the crews can safely operate, and shall under no circumstances enter within 45 degrees of either
side of the stern of the vessel.

A minimum of one vessel, of adequate horsepower and size, shall perform the role of safety observer,
USCG Verifying Officer, and for a vessel representative to observe the operation. This vessel is responsible
for providing access to all affected surfaces of the contaminated vessel. Communications between the tug
and decon teams must be in place to provide for the safety of the crew, and to facilitate efficient
operations.

In the event the decontamination team leader feels the team cannot safely operate due to weather or
other considerations, they will cease operations and report the circumstances to the designated person at
the Incident Command Post (ICP). Anyone can call ‘Stop Work” for safety concerns, if this occurs only the
team leader can sound the “All Clear” when the unsafe condition is corrected

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It is not anticipated that any confined space entry will be necessary during this operation, but in the
event it is, a Confined Space Entry Permit will be completed for entry into Confined Spaces as defined in
the Site Safety Plan.

All disposable equipment and PPE should be segregated and disposed of according to the approved
disposal plan.

SINGLE VESSEL/NON-FLEET SAFETY CONCERNS

For inshore, a minimum of two shallow draft vessels, of adequate horsepower, shall perform the role of
safety observer and cleaning barge support, as a platform for a USCG Verifying Officer, and for a vessel
representative to observe the operation, if they wish. This vessel is responsible for providing access to all
affected surfaces of the contaminated vessel. Communications between the tug or assist vessel and
decon taskforce teams must be in place to provide for the safety of the crew, and to facilitate an efficient
operation.

Additional Cleaning
METHODOLOGY

Inshore Secondary Vessel Cleaning: Where possible, each pre-designated work area will be pre-boomed
(e.g, to protect bulkheads, piles, rip rap, etc.) to contain any free-floating oil that enters the water.
Decontamination for vessels requiring additional cleaning will be completed by the inshore vessel
decontamination task force at the decontamination station by removing all spilled product on the hull of
the affected vessel. Upon completion of decontamination, the taskforce team will allow final inspection
by vessel representatives and on site Verifying Officer. This does not preclude representative from
monitoring the cleaning of the vessel as it occurs.

inshore cleaning: Prior to commencement of hot water cleaning operations, containment boom will be
secured to the hull of the vessel utilizing boom, then the work area will be surrounded by the boom
magnets in order to contain any oil generated by the cleaning process. Absorbent sweep or sorbent
materials will be placed inside the containment boom to collect any residual from escaping the boom for
collection. Detergents or chemicals will only be utilized during the decontamination process if approved
by the Environmental Regional Response Team. All oiled absorbent material will be bagged and placed in
appropriate containers for disposal as per the approved waste disposal plan. One or more task force(s),
pressure washer(s) and crew will go down each side of the vessel cleaning the oil from bow to stern.

No vessel decontamination will be done in the vicinity of water intakes, environmentally sensitive areas or
in areas where the public could be affected. Cleaned vessels must remain on station until the USCG
Verifying Officer has inspected and released the vessel for transit.

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Where permissible, decontamination will be completed on all solid surfaces by pressure washing.
Pressure washing operations will require a pressure washer (cold or hot) with a temperature range up to
220° F and a pressure rating up to 3000-4000 PSI. Non-permissible areas are locations where worker
safety could potentially be endangered, such as the stern of the vessel while machinery is engaged, or if
environmental conditions exist that do not allow for safe operations. Decontamination team (Decon
Team) leaders, safety observer assist vessels, the USCG Verifying Officer, or any other involved parties are
required to report any of the above conditions, or others, that do not allow for safe operations. Once
unsafe operations are recognized and reported to a Site Safety Officer, cleaning operations shall be
suspended until conditions change, or if alternate operations are approved by the Unified Command.

SURFACE WASHING AGENTS

Any approved use of the surface washing agents listed below shall be performed in accordance with the
“RRT IV Emergency Response Pre-Approved Guidelines to Decontaminate Vessels and Hard Structures in
Port Areas Using Surface Washing Agents.” All information contained in this plan regarding surface
washing agents, and their use for decontamination of vessels is intended for the spot cleaning of only
those vessel surfaces that are completely non-responsive to water-based pressure washing in navigable
waterways. The approved technique for application of either of these approved surface washing agents is
to spray the agent onto a sorbent pads or cotton rags that must be used to apply the agent to the
contaminated surface area. Furthermore, once surface washing agents have been applied, additional
water shall NOT be used to flush the affected area, until the cleaning agent has been wiped off with an
absorbing rag or sorbent pad.

A representative of the Federal On-Scene Coordinator (FOSC) must be on hand during every stage of
surface washing agent application in order to ensure that the approved application technique is being
used and that the operation is being carried out in a safe and responsible manner. If any negative effects
from application are observed, the use of surface washing agents shall cease immediately until a
determination is made by the FOSC with regards to further use. At no point shall the dispersion of oil by
either of the approved agents be used a primary means of surface cleansing. At NO point shall surface
washing agents be used for cleaning operations within 2000 yards of any public water intake.

The only surface washing agents that may be approved for vessel decontamination by the
Environmental Protection Agency’s Regional Response Team, and are listed as follows:

PES-51 (Practical Environmental Solutions)

Corexit 9580 (Nalco Energy Services L.P)

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PREPARING TRANSIT VESSEL DECONTAMINATION ZONES
(Offshore Anchorages and Inshore Secondary cleaning locations)

Designated transit vessels that require gross decontamination at the MTSRU designated locations sites
shall maintain position, by anchoring, in a location that provides for the safety of Gross Decon Vessel or
Taskforces. The Gross Decon Vessel/s must remain on site until USCG Representative clears the vessel for
continued transit. The Gross Decon Vessel or Taskforces may be used as an observation and certification
platform for the Verifying Officer.

VESSEL DECONTAMINATION EQUIPMENT

The following identifies the minimum necessary equipment to be used while conducting hull
decontamination of marine vessels prior to entering or departure from the Captain of the Port Zone
Mobile.

Decontamination Task Forces are to be utilized with additional systems as needed. Each task force will
consist of the following:

Offshore Vessel Decon
e Offshore vessels with high volume fire water system

Inshore Vessel Decon
e Work Boats
e Shallow water barges and/or Barge boats with at least 15’ x 20’ deck
e Pressure washers
e Containment boom in sufficient quantities to trap oils within the c leaning area of
vessel being decontaminated
e Absorbent materials, i.e. snare or boom
e Personnel

DECONTAMINATION SITES

GULFPORT

Site 1: State Dock East Pier (secondary cleaning) - 30° 21N / 089° OSW
Site 2: Gulfport Sea Bouy Safe Fairway Achorage (gross decon) - 30° O8N / 088° 52W

PASCAGOULA

Site 1: Bayou Cassote, Terminal F (secondary cleaning) - 30° 20N / 088° 30W

Site 2: River Harbor, South Terminal (secondary cleaning), min draft 29’ - 30° 21N / 088° 34W
Site 3: Pascagoula Chevron docks (secondary cleaning) - 30° 20N / 088° 30W

Site 4: Pascagoula Sea Bouy Safe Fairway Anchorage (gross decon) - 30° O6N / 088° 34W

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MOBILE

Site 1: Alabama State Docks, Pier South A (secondary cleaning) - 30° 42N /088°02W

Site 2: Mobile Bay ICW, Foley Cut entrance (secondary cleaning) - 30° 16N / 087° 44W

Site 3: Mobile Bay, Western ICW, Dauphin Island (secondary cleaning) - 30° 16N / 088° O9W
Site 4: Mobile Bay, ORC Dock (secondary cleaning) - 30° 41N / 088° 0O2W

Site 5: Mobile Sea Bouy Safe Fairway Anchorage (gross decon) - 30° 04N / 088° O4W

PENSACOLA

Site 1; In-Harbor Safe Anchorage (secondary cleaning) - 30° 20N / 087° 15W
Site 2: Sea Bouy Safe Fairway Anchorage (gross decon) - 30° 11N / 087° 20W

PANAMA CITY

Site 1: In-Harbor Safe Anchorage (secondary cleaning) - 30° 08N / 085° 41W
Site 2: Sea Bouy Safe Fairway Anchorage (gross decon) - 30° 03N / 085° 44W

DEEP SEA OUTBOUND

Decontamination of outbound vessels will adhere to the following guidelines and is to occur at one of the
following Vessel Cleaning Stations:

Sector Mobile Cleaning Station 1: 28° 45N / 087° 15W
Sector Mobile Cleaning Station 2: 28° 45N / 085° 45wW

Maritime Transportation Systems Recovery Unit (MTRSU) via telephone or website.
The Team Leader will make individual arrangements with each vessel requesting to be cleaned.

Each vessel will slow to a minimum safe steerage while decon teams, comprised of two vessels, perform
a water wash. No containment boom will be deployed, but skimmers will be notified if skimmable oil is
observed.

The sites listed above have been identified as suitable locations for vessel decontamination. Should
safety, environmental conditions or logistical concerns arise that would preclude operations at these sites,
additional sites shall be identified and approved by the Unified Command, in order to avoid interruption
to the decontamination process. If the need for alternate locations is necessary, the methodology for
decontamination must remain in accordance with the procedures identified in this plan.

*Deep Sea Outbound cleaning station locations are subject to Locations changes based on oil slick
proximity. A notice to mariners will be issued if location/s is moved.

VESSEL DECONTAMINATION PRIORITY

The Maritime Transportation System Recovery Unit (MTSRU) working for Operation Section will facilitate
the movement of vessels requiring decontamination. The MTSRU will coordinate with the Vessel Traffic
Center Mobile to coordinate movement of vessels to/from the appropriate decontamination areas.

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CERTIFICATE OF DECONTAMINATION

For this incident, a contaminated vessel owner’s representative must obtain the Coast Guard Verifying
Officer's final verification of decontamination.

Additionally, the Verifying Officers shall maintain a log capturing the vessels name being decontaminated,
the date and time the operation begins and is completed, and signature by the Verifying Officer and
vessel representative acknowledging completion of the decontamination for each vessel.

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